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                 APPENDIX TO DEFENDANT VINTAGE BRAND, LLC’s
                  STATEMENT OF UNDISPUTED MATERIAL FACTS


 Ex.                                                                               Bates No.
                              Document Description
 No.                                                                            (If applicable)
       NCAA News Release, NCAA Executive Committee Issues
       Guidelines for Use of Native American Mascots at Championship
       Events (August 5, 2005), http://fs.ncaa.org/Docs/PressArchive/
  1                                                                                  n/a
       2005/Announcements/NCAA%2BExecutive%2BCommittee%2BIs
       sues%2BGuidelines%2Bfor%2BUse%2Bof%2BNative%2BAmeri
       can%2BMascots%2Bat%2BChampionship%2BEvents.html.
       NCAA News Release, NCAA Executive Committee Announces
       Native American Mascot Appeals Decisions (April 28, 2006),
  2    http://fs.ncaa.org/Docs/PressArchive/2006/Announcements/NCAA                  n/a
       %2BExecutive%2BCommittee%2BAnnounces%2BNative%2BAm
       erican%2BMascot%2BAppeals%2BDecisions.html.
       Amber Greviskes, Ruling Sends Team Packing, THE DAILY ILLINI
  3    (May 9, 2006), https://dailyillini.com/sports-stories/2006/05/09/             n/a
       ruling-sends-team-packing/#.
       Meeting of the Board of Trustees of the University of Illinois
       Dated March 13, 2007
  4                                                                                  n/a
       Available at: https://www.trustees.uillinois.edu/trustees/minutes/
       2007/2007-03-13-uibot.pdf.
       The Collegiate Licensing Company - CLC Memorandum
       Dated March 30, 2007
                                                                                    ILL-
  5    TO: All University of Illinois Urbana-Champaign Licensees
                                                                                VNTG_0012074
       FROM: John Greeley, Director of University Services, CLC
       RE: Licensing of Chief Illiniwek
       Sharita Forrest, Board takes final vote, retires Chief Illiniwek,
  6    ILLINOIS NEWS BUREAU (March 15, 2007), https://news.illinois.edu/             n/a
       view/6367/369368.
       Craig Chamberlain, Chief Illiniwek performs last dance amid
  7    continued controversy, ILLINOIS NEWS BUREAU (March 1, 2007),                  n/a
       https://news.illinois.edu/view/6367/211139.
       Sharita Forrest, UI retains trademark rights to Chief Illiniwek
  8    imagery, ILLINOIS NEWS BUREAU (April 5, 2007),                                n/a
       https://news.illinois.edu/view/6367/211176.
       Jim Meadows, UIUC Chancellor: Chief Illiniwek’s Retirement is
       Permanent, ILLINOIS PUBLIC MEDIA (February 26, 2013),
  9    https://will.illinois.edu/news/story/uiuc-chancellor-chief-illiniweks-        n/a
       retirement-ispermanent.




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 Ex.                                                                               Bates No.
                              Document Description
 No.                                                                            (If applicable)
       Associated Press, University of Illinois leader says mascot panel
       will not be picking Chief Illiniwek replacement, CHICAGO TRIBUNE
 10    (November 30, 2018), https://www.chicagotribune.com/sports/                   n/a
       college/ct-spt-university-illinois-mascot-chief-illiniwek-20181130-
       story.html.
       Julie Wurth, 2 UI trustees visited Peoria tribe’s new Chief, NEWS
       GAZETTE (May 17, 2018; updated June 27, 2019), https://www.
 11
       news-gazette.com/news/2-ui-trustees-visited-peoria-tribes-new-
       chief/article_4c0c8826-923c-5670-b3e6-b3b433c4cd82.html.
       Ethan Simmons, State of the University: An ‘optimistic’ chancellor
       addresses gun violence, inflation, Native imagery, NEWS GAZETTE
       (December 3, 2021) https://www.news-gazette.com/news/local/
 12                                                                                  n/a
       university-illinois/state-of-the-university-an-optimistic-chancellor-
       addressesgunviolence-in ation-native-imagery/article_40bb365b-
       180d-54d0-aee1-1fd53b63df21.html.
       Ethan Simmons, UI chancellor: ‘It’s time to build on our
       commitment’ to Native Americans, NEWS GAZETTE (August 19,
 13    2021), https://www.newsgazette.com/news/2-ui-trustees-visited-                n/a
       peoria-tribes-new-chief/article_4c0c8826-923c-5670-b3e6-
       b3b433c4cd82.html.
       University of Illinois, Office of the Vice Chancellor For Diversity,
       Equity & Inclusion, Implementation Plan on Native Imagery
 14                                                                                  n/a
       (December 4, 2020), https://diversity.illinois.edu/2020/12/04/
       implementation-plan-on-native-imagery/.
                                                                                   ILL-
 15    University of Illinois Athletics Brand Identity                         VNTG_0000360–
                                                                                    387
       PageVault Capture of Vintage Brand 1989 Illinois Fighting Illini
       Men's Ori-Power T-shirt                                                 VINTAGE_ILLI
 16    https://vintagebrand .com/l/college/Uillinois-fighting-                 NOIS_000119–
       illini/a/8886/p/31 ?sku=319 (Exhibit A to the Declaration of Chad           121
       Hartvigson)
       1/16/2009 Email
       From: cwright@clc.com
       To: Martin Kaufman
                                                                                    ILL-
       Subject: document for our call
 17                                                                            VNTG_0012072,
       Attachment: Chief Illiniwek (v1).Notice.doc
                                                                                0000719–727
       Attachment: Illinois_cv.pdf
       Attachment: Addendum-Illinois Chief Illinewek CV.doc
       (Exhibit A to the Declaration of Theresa Wang)




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 Ex.                                                                             Bates No.
                             Document Description
 No.                                                                          (If applicable)
       3/30/2007 Email
       From: Robin Kaler
       To: Richard Herman, et al.                                                 ILL-
 18    Cc: Phyllis Mischo, et al.                                            VNTG_0012073,
       Subject: final CLC doc                                                 0000729–730
       Attachment: CLC.2.doc
       Attachment: Notice to U of Illinois Licensees - Chief Illiniwek.pdf
       12/10/2018 Email
       From: Chris Grussing                                                      ILL-
 19
       To: Martin Kaufmann                                                   VNTG_0008224
       Subject RE: Vault-Chief Vendors
       2/14/2019 Email
                                                                                 ILL-
       From: Nicholas Taylor
 20                                                                          VNTG_0008218–
       To: Martin Kaufmann
                                                                                 8219
       Subject: Re: Questions regarding licensing
       4/14/2022 Email
       From: Martin Kaufmann
                                                                                 ILL-
 21    To: Abbey Noon
                                                                             VNTG_0012077
       Cc: Cathy Groves, Krystin Robinson
       Subject: RE: Chief Illiniwek Logo
       12/14/2020 Email
       From: Martin Kaufmann                                                      ILL-
 22    To: Chris Grussing                                                    VNTG_0012100,
       Subject: Chief Merchandise In-Store                                     3933–3934
       Attachment: NEW! Exclusive Chief Champion Apparel**
       7/28/2014 Email
       From: Martin Kaufmann
                                                                                   ILL-
       To: Chad Kahll
 23                                                                          VNTG_0012080–
       Cc: Identity Standards
                                                                              12081, 0000898
       Subject: RE: Chief merchandise
       Attachment: Illinois_cv2011.pdf
       4/15/2022 Email
       From: Martin Kaufmann                                                     ILL-
 24    To: Cathy Groves                                                      VNTG_0012078–
       Cc: Krystin Robinson, Abbey Noon                                         12079
       Subject: RE: Chief Illiniwek Logo
       3/28/2013 Email
       From: Martin Kaufman                                                      ILL-
 25
       To: Brandon Pruitt                                                    VNTG_0012082
       Subject: RE: T.L.S. College Bookstore
       9/4/2015 Email
       From: Martin Kaufmann                                                     ILL-
 26
       To: University Tees - Matt Pahl                                       VNTG_0012095
       Subject: RE: Chief and Drinking Illini Merchandise


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 Ex.                                                                         Bates No.
                             Document Description
 No.                                                                      (If applicable)
       12/17/2012 Email
       From: Martin Kaufmann
                                                                              ILL-
       To: Nate Klein
 27                                                                      VNTG_0012071,
       Subject: Dick’s Sporting Goods - Chief Illiniwek Merchandise
                                                                          0000653–654
       Attachment: IMAG0357.jpg
       Attachment: IMAG0358.jpb
       5/28/2014 Email
                                                                             ILL-
       From: Martin Kaufmann
 28                                                                      VNTG_0012096–
       To: Katherine Koziol
                                                                            12097
       Subject: RE: Question on Chief Hats
       4/4/2014 Email
       From: Martin Kaufmann                                                 ILL-
 29    To: Josh Benedek                                                  VNTG_0012098–
       Cc: Lisa Beachy                                                      12099
       Subject: RE: Edited Brand Identity Press Release - DRAFT
       8/27/2021 Email
       From: Robin Neal Kaler                                                ILL-
 30    To: Martin Kaufmann et al.                                        VNTG_0000791–
       Subject: RE: Chief ad from the Illinois Athletics Facebook             792
       account?
       10/7/2019 Email
       From: Martin Kaufmann
                                                                             ILL-
 31    To: Dennis Grover
                                                                         VNTG_0012091
       Cc: Kelley Burke, Ginny Stiles
       Subject: RE: College Vault Team Store Landing Page
       10/23/2013 Email
       From: Katherine Koziol                                                ILL-
 32    To: Martin Kaufmann                                               VNTG_0012084–
       Subject: RE: Illinois Holiday Wish List - Holiday Cheer Section      12086
       2013
       9/4/2015 Email
       From: University Tees - Matt Pahl
       To: Martin Kaufmann                                                    ILL-
 33    Subject: Chief and Drinking Illini Merchandise                    VNTG_0012083,
       Attachment: 15_Illinois-27x37Banner-CV_0.jpeg                       2013–2015
       Attachment: party3.png
       Attachment: Messages Image (355651154).jpg
       5/8/2017 Email
       From: Martin Kaufmann                                                 ILL-
 34    To: Michael DeLorenzo, Robin Neal Kaler                           VNTG_0012075–
       Cc: Assata Zerai                                                     12076
       Subject: RE: Chief Illiniwek Branding




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 Ex.                                                                              Bates No.
                             Document Description
 No.                                                                           (If applicable)
       1/29/2018 Email
       From: Martin Kaufmann
                                                                                    ILL-
       To: Robin Neal Kaler
 35                                                                           VNTG_0012092–
       Subject: RE: Request from January Board meeting
                                                                               12094, 0009174
       Attachment: Royalty Annual Summaries 2008-.docx
       Attachment: Illinois_cv_2011.pdf
       2/26/2013 Email
                                                                                  ILL-
       From: Martin Kaufmann
 36                                                                           VNTG_0007062–
       To: Julie Wurth
                                                                                 007064
       Subject: RE: Licensing Revenue
       5/4/2017 Email
       From: Amanda Teresa Rodriguez                                              ILL-
 37
       To: Native American House                                              VNTG_0000656
       Subject: Chief Merchandise
       2020 Commencement at Illinois
       Available at: https://commencement.illinois.edu/wp-
 38                                                                                 n/a
       content/uploads/2021/03/2020-Commencement-Program-Graduate-
       listing-updated.pdf
       Chad Kahl Bio
       University of Illinois Urbana-Champaign
 39    College of Liberal Arts & Sciences - Department of History                   n/a
       URL: https://history.illinois.edu/spotlight/alumni/chad-kahl-1993
       Last Visited: October 26, 2022
       10/23/2020 Email
       From: Public Affairs                                                       ILL-
 40    To: Martin Kaufmann                                                    VNTG_0012087–
       Subject: RE: Fanatics Selling Chief Illiniwek T-Shirts (claims to be      12088
       “officially licensed”)
       10/31/2019
       From: Martin Kaufmann                                                      ILL-
 41    To: Steve King                                                         VNTG_0012089–
       Subject: RE: [EXTERNAL_MESSAGE] RE: University of Illinois                12090
       Chief call-out
       5/3/2018 Email
       From: Lori Davis                                                           ILL-
 42
       To: licensing@illinois.edu                                             VNTG_0008311
       Subject: t-shirts with Chief logo
       Declaration of Chad Hartvigson
       Declaration of Theresa Wang




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